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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

   UNITED STATES OF AMERICA,               )
                                           )
                        Plaintiff,         )
                                           )              8:06CR116
                vs.                        )
                                           )               ORDER
   GEORGE W. DOTSON,                       )
                                           )
                        Defendant.         )

         Defendant George W. Dotson appeared before the court on Wednesday,
   October 6, 2010 on a Petition for Warrant or Summons for Offender Under
   Supervision [766]. The defendant was represented by CJA Panel Attorney
   Deborah D. Cunningham and the United States was represented by Assistant
   U.S. Attorney Thomas J. Kangior. The government did not request detention.
   The Defendant was not entitled to a preliminary examination.
         I find that the Report alleges probable cause and that the defendant should
   be held to answer for a final dispositional hearing before Judge Smith Camp.
         IT IS ORDERED:
         1.     A final dispositional hearing will be held before Judge Laurie Smith
   Camp in Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
   18th Plaza, Omaha, Nebraska, on January 10, 2011 at 9:30 a.m . Defendant must
   be present in person.
         2.     The defendant is released on current conditions of supervision.
         DATED this 6th day of October, 2010.

                                                  BY THE COURT:

                                                  s/ F. A. Gossett
                                                  United States Magistrate Judge
